 8:12-cr-00376-RGK-FG3        Doc # 27    Filed: 12/26/12    Page 1 of 2 - Page ID # 61




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                8:12CR376
      vs.
                                                   MEMORANDUM AND ORDER
JORGE BAUTISTA-CRUZ and
CHRISTOPHER M. JIMENEZ,
                  Defendants.
      Defendant Christopher M. Jimenez has moved to continue the trial currently set
for January 7, 2013. (Filing No. 25). As explained in the motion, the defendant needs
additional time to investigate this case and review discovery. The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds the motion
should be granted. Accordingly,

      IT IS ORDERED:


      1)      Defendant Jimenez’s motion to continue, (filing no. 25), is granted.

      2)     As to both defendants, the trial of this case is set to commence before the
             Honorable Richard G. Kopf, Senior United States District Judge, in the
             Special Proceedings Courtroom of the United States Courthouse, Omaha,
             Nebraska, at 9:00 a.m. on February 11, 2013, or as soon thereafter as the
             case may be called. Jury selection will be held at commencement of trial.

      3)     Based upon the showing set forth in defendant Jimenez’s motion and the
             representations of counsel, the Court further finds that the ends of justice
             will be served by continuing the trial; and that the purposes served by
             continuing the trial date in this case outweigh the interest of the defendant
             and the public in a speedy trial. Accordingly, as to both defendants, the
             additional time arising as a result of the granting of the motion, the time
             between today’s date and February 11, 2013, shall be deemed excludable
             time in any computation of time under the requirements of the Speedy Trial
             Act, because despite counsel’s due diligence, additional time is needed to
             adequately prepare this case for trial and failing to grant additional time
             might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) &
             (h)(7).
8:12-cr-00376-RGK-FG3   Doc # 27   Filed: 12/26/12   Page 2 of 2 - Page ID # 62




          December 26, 2012.
                                        BY THE COURT:
                                        s/ F.A. Gossett
                                        United States Magistrate Judge




                                    2
